
652 S.E.2d 646 (2007)
KUCAN
v.
ADVANCE AMERICA, et al.
No. 464P06.
Supreme Court of North Carolina.
October 11, 2007.
Carlene McNulty, F. Paul Bland, Jr., Mallam J. Maynard, Mona Lisa Wallace, Salisbury, John Hughes, Greensboro, Richard A. Fisher, for Hager and Hall.
Saul M. Pilchen, Washington, DC, Johnny M. Loper, Raleigh, John Coble, Wilmington, for Advance America, et al.
The following order has been entered on the motion filed on the 31st day of August 2006 by Plaintiffs to Consolidate:
"Motion Dismissed as moot by order of the Court in conference this the 11th day of October 2007."
